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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION

 Jubal Aiden Sweeten, Plaintiff                       Case No. 3:20-CV-527

 vs.
                                                      Judge
 Fox Towing and Truck Service, Inc.;
 Paul O. Fox, Jr.; and Drew Fox, Defendants
                                                      Plaintiff’s Complaint for damages

The Plaintiff says for his Complaint:

                                          JURISDICTION

1.      This Court has jurisdiction because the Plaintiff’s claim for relief arises under the Fair
        Labor Standards Act, as amended, 29 U.S.C. §201, et seq. (“the Act”). Jurisdiction is
        conferred upon this Court by 29 U.S.C. §216(b).

2.      This Court has supplemental jurisdiction over the related state law based wage claims
        under 28 U.S.C. §1367(a).

3.      Venue is appropriate in this Court because while the Defendants maintain principal
        places of business in Ohio’s Clinton and Montgomery Counties, the acts complained of
        took place primarily at or near 2828 Springboro Pike, Dayton, in Montgomery County.

                                              PARTIES

4.      The named plaintiff, Jubal Aiden Sweeten, is an individual, a United States Citizen, and a
        resident of the state of Ohio. He worked for one or more of the defendants for at least
        seven years, most recently in August of 2020.

5.      At all times while working for any of the defendants, Mr. Sweeten was an employee, as
        defined by the Act at 29 U.S.C. §203(e)(1).

6.      The defendant Fox Towing and Truck Service, Inc. is an Ohio corporation for profit with
        locations in Clinton and Montgomery counties. It employs more than five (5) full time
        employees. It is organized under the laws of the United States, and it is engaged in the
        business of servicing and repairing automobiles, trucks, and other motorized vehicles. It
        is an “employer” under the Act.

7.      The defendant Paul O. Fox, Jr., is an individual, a resident of Warren County, Ohio, and
        is an agent, officer, manager, or director of Fox Towing.
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8.     Paul Fox sets and controls payroll practices including the regular rates, scheduling, and
       payment of wages to employees of Fox Towing. He is an “employer” under the Act.

9.     Drew Fox is an individual, a resident of Montgomery County, Ohio, and is an agent,
       officer, manager, or director of Fox Towing.

10.    Drew Fox sets and controls payroll practices including the regular rates, scheduling, and
       payment of wages to employees of Fox Towing. He is an “employer” under the Act.

11.    During the past three years, the defendants have sold goods and performed services that
       have had an affect on interstate commerce.

                               FLSA UNPAID OVERTIME CLAIM

12.    Complaint paragraphs 1-11 incorporated by reference.

13.    During the three years preceding the filing of this Complaint, at least one of the
       Defendants employed Mr. Sweeten.

14.    Mr. Sweeten’s rate of pay was regularly stated in terms of both an hourly wage and as am
       additional commission.

15.    The Defendants paid Mr. Sweeten by paycheck every two weeks.

16.    The hours Mr. Sweeten worked for each work week were not recorded on any pay stub,
       nor were the hours he worked while generating commissions identified or recorded on
       any pay stub.

17.    Paul Fox and Drew Fox together set the policy and procedures for assigning work hours
       and calculating the weekly pay of all company employees, including Mr. Sweeten.

18.    Paul Fox and Drew Fox knew or should have known of the overtime payment
       requirements of the Act.

19.    During the three years preceding the date of this complaint, Fox Towing, Paul Fox, and
       Drew Fox have all knowingly and wilfully failed to pay Mr. Sweeten the overtime wages
       he was due.

20.    During the past three years, Paul Fox and Drew Fox knowingly and wilfully directed Fox
       Towing and Service to pay Mr. Sweeten wages that were insufficient under the Act.



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21.    Throughout his employment by the defendants, Mr. Sweeten was engaged in services and
       duties essential to the movement of goods in interstate commerce.

22.    At various times while he was employed by the defendants in the three years preceding
       the filing date of this complaint, Mr. Sweeten had worked, suffered, or been permitted to
       work in excess of forty (40) hours per week without compensation at the overtime rate of
       one and one half times his regular hourly pay for the weekly hours he worked in excess of
       forty.

23.    Paul Fox, Drew Fox, and Fox Towing, themselves, and through their owners, agents,
       employees and officers, have willfully and knowingly failed to pay Mr. Sweeten the
       overtime wages he was due for all the hours he worked in excess of forty in any given
       workweek during the three years preceding the filing of this complaint.

24.    None of the job duties Mr. Sweeten had in the three years preceding the filing date of this
       complaint made him exempt him from the overtime pay requirements of the Act.

25.    As a result of the unlawful conduct on the part of Paul Fox, Drew Fox, and Fox Towing,
       Mr. Sweeten has suffered and continues to suffer money damages in an amount not
       presently ascertainable with certainty, but to which he is nonetheless entitled. Mr.
       Sweeten seeks back wages due to him, liquidated damages in the same amount as the back
       wages, post judgment interest, and mandatory attorney’s fees as a result of the
       Defendants’ willful failure and refusal to pay overtime wages in violation of Sections 6
       and 7 of the Act (29 U.S.C. §§206-207).

                       STATE LAW BASED UNPAID OVERTIME CLAIM

26.    Complaint paragraphs 1-25 incorporated by reference.

27.    The defendants’ repeated and knowing failures to pay overtime wages to Mr. Sweeten
       were, and continue to be, violations of Section 4111.03 of the Ohio Revised Code.

28.    For the defendants’ violations of ORC 4111.03, Mr. Sweeten is entitled to recover unpaid
       wages, post judgement interest, and attorney’s fees.




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                            UNPAID FRINGE BENEFIT PAYMENTS

29.    Complaint paragraphs 1-28 incorporated by reference.

30.    As a direct result of the defendants’ failure to pay Mr. Sweeten all the wages to which he
       was entitled, the defendants also failed to pay to the proper government authorities the
       lawfully required health, welfare, retirement benefit, and payroll tax payments related to
       Mr. Sweeten’s wages.

31.    Mr. Sweeten demands that while paying him the back wages due to him, the defendants
       pay the associated Social Security contributions, unemployment compensation, federal
       payroll taxes, and medicare payments they are obligate to pay on his behalf.

WHEREFORE, Mr. Sweeten demands relief in the following manner:

a)     Judgement for Mr. Sweeten against all the defendants, jointly and severally, on the basis
       of the defendants’ willful violations of the federal Fair Labor Standards Act and Ohio
       Revised Code Section 4113.03;

b)     an award of actual and compensatory damages in the amount shown to be due for unpaid
       overtime compensation, plus applicable post-judgment interest at the Ohio statutory rate,
       payable by the defendants, jointly and severally;

c)     an award of liquidated damages in the amount calculated under part b) above, before
       interest charges payable by the defendants, jointly and severally;

d)     an Order directing the defendants, jointly and severally, to pay the social security
       payments, employee payroll tax withholding amounts, and medicare contributions
       associated with the unpaid wage amounts;

e)     an Order directing defendants, jointly and severally, to pay plaintiffs’ reasonable attorney
       fees and the costs of this action; and




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f)    such other and further relief as this Court deems equitable and just.


                                   Respectfully Submitted,

                         James P.       Digitally signed by James
                                        P. Langendorf

                         Langendorf     Date: 2020.12.31 17:08:00
                                        -05'00'
                           _______________________
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